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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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      Network Signatures Inc.,       )              CASE NO.SACV 08-779-JVS(RNBx)
11                                   )
                                     )              ORDER OF DISMISSAL UPON
12              Plaintiff,           )
                                     )              SETTLEMENT OF CASE
13         v.                        )
                                     )
14    HSBC USA, Inc.,                )
                                     )
15              Defendant(s).        )
                                     )
16                                   )
      ______________________________ )
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18          The Court having been advised by the counsel for the parties that the above-
19    entitled action has been settled,
20      IT IS ORDERED that this action be and is hereby dismissed in its entirety without
21    prejudice to the right, upon good cause being shown within 45 days, to reopen the
22    action if settlement is not consummated.
23
24    DATED: January 21, 2009
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26                                                   James V. Selna
                                                  United States District Judge
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